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March 4, 2019

VIA E-FILE AND HAND DELIVERY

The Honorable Leonard P. Stark
United States District Court for the District of Delaware
844 N. King Street, Unit 26
Room 6124
Wilmington, DE 19801-3555

        Re:        Citrix Systems Inc. v. Workspot, Inc.,
                   C.A. No. 18-00588-LPS-SRF

Dear Chief Judge Stark:

        The parties in the above-referenced matter write to request the scheduling of a discovery
teleconference. The first issue set forth below is in addition to the two issues set forth in Plaintiff
Citrix System, Inc.’s (“Citrix”) discovery dispute letter filed with the Court on February 7, 2019
[D.I. 173]. Those discovery disputes are still pending and no hearing date or briefing schedule
has yet been set.

The second issue set forth below involves a possible process, with the Court’s agreement, by
which to resolve the privilege log issue stated in the discovery dispute letter filed with the Court
on February 7, 2019. At the recent February 28, meet and confer, the parties further discussed
the privilege log issue and agreed that the parties are amenable to submitting the privilege log
documents in question to the Honorable Magistrate Judge Sherry R. Fallon for an in camera
review.

The following attorneys, including at least one Delaware Counsel and at least one Lead Counsel
per party, participated in a meet and confer by telephone on February 28, 2019.

Plaintiff’s Counsel:                            Denise S. Kraft
                                                Michael G. Strapp




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Plaintiff’s Delaware Counsel:                  Denise S. Kraft

Plaintiff’s Lead Counsel:                      Michael G. Strapp

Defendant’s Counsel:                           David E. Moore
                                               Ronald F. Lopez
                                               Jennifer Hayes

Defendant’s Delaware Counsel:                  David E. Moore

Defendant’s Lead Counsel:                      Ronald F. Lopez


Plaintiff Citrix’s disputes requiring judicial attention are as follows:

       1. Defendant Workspot, Inc.’s (“Workspot”) request for the Court to determine what are
          Citrix’s reasonable attorneys’ fees and costs incurred through December 12, 2018,
          per the Court’s initial sanction awarding Citrix the recovery of 50% of its fees and
          costs in connection with Citrix’s TRO motion.

       2. Whether the discovery dispute issue raised with this Court by discovery dispute letter
          filed on February 7, 2019 [D.I. 173], regarding Defendant Workspot, Inc.’s privilege
          log concerning documents withheld from production by Workspot that are related to
          the issues raised in Citrix’s Motion for a Temporary Restraining Order, may be
          resolved by submitting the privilege log documents in question to the Honorable
          Magistrate Judge Sherry R. Fallon for an in camera review.


Respectfully submitted,

DLA Piper LLP (US)

/s/ Denise S. Kraft

Denise S. Kraft (DE Bar No. 2778)
Partner

cc:    All counsel of record




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